

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-35,732-11







JOHN HARRY CLOUD, Relator


v.


DALLAS COUNTY DISTRICT CLERK, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NOS. F-9361603-MN / F-9361604-MN


FROM DALLAS COUNTY






	Per curiam.


O R D E R

	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court. In it, he contends that he filed an application for a writ of habeas
corpus in the 195th Judicial District Court of Dallas County on February 17, 2011, that more
than 35 days have elapsed, and that the application has not yet been forwarded to this Court. 


	In these circumstances, additional facts are needed. Respondent, the District Clerk of
Dallas County, is ordered to file a response, which may be made by: submitting the record
on such habeas corpus application; submitting a copy of a timely filed order which designates
issues to be investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992);
or stating that Relator has not filed an application for habeas corpus in Travis County. Should
the response include an order designating issues, proof of the date the district attorney's
office was served with the habeas application shall also be submitted with the response. This
application for leave to file a writ of mandamus shall be held in abeyance until Respondent
has submitted the appropriate response. Such response shall be submitted within 30 days of
the date of this order, and Respondent shall serve a copy of any such response on Relator.


Filed: May 4, 2011

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